

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0817-07
					





KIMBERLY MICHELE ALEXANDER, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTH COURT OF APPEALS


BEXAR COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered:

Do Not Publish.



